   Case 19-22083-VFP        Doc 89   Filed 07/14/22 Entered 07/15/22 09:56:49              Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg, MAG-1284
Marie-Ann Greenberg, Standing Trustee
30 TWO BRIDGES ROAD                                               Order Filed on July 14, 2022
                                                                  by Clerk
SUITE 330                                                         U.S. Bankruptcy Court
FAIRFIELD, NJ 07004-1550                                          District of New Jersey
973-227-2840
Chapter 13 Standing Trustee

IN RE:
   JACQUELINE R. LIVERPOOL                             Case No.: 19-22083VFP

                                                       Judge: VINCENT F. PAPALIA

                                  ORDER DISMISSING PETITION


  The relief set forth on the following page, numbered two (2), is hereby ORDERED.




     DATED: July 14, 2022
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Debtor(s): JACQUELINE R. LIVERPOOL


Case No.: 19-22083VFP

Caption of Order: ORDER DISMISSING PETITION


   THIS MATTER having come before the Court on the application of the Chapter 13 Standing Trustee,

and the Court having considered the Chapter 13 Standing Trustee's application and the Court having

ordered the debtor(s) not to be more than thirty days in default as set forth in the attached certification,

and the debtor(s) having failed to comply with that order as set forth in the attached certification, and

good and sufficient cause appearing therefrom for the entry of this order, it is:



   ORDERED AND DIRECTED, that the Debtor(s) Voluntary Petition for Relief under Chapter 13 and

all proceedings thereunder are hereby dismissed without prejudice.




   ORDERED, pursuant to 11 U.S.C. Sec. 349(b) this Court, for cause, retains jurisdiction over any

additional application filed within 30 days by any administrative claimants for funds on hand with the

Chapter 13 Trustee.


   ORDERED AND DIRECTED, any funds held by the Chapter 13 Standing Trustee from payments

made on account of Debtor(s)' Plan, shall be disbursed to the Debtor(s), less any applicable Trustee fees

and commisions, except any adequate protection payments due under the proposed plan or by Court

Order, and/or any counsel fees and costs hereby allowed as an Administrative Expense.
